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                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF CALIFORNIA

                                        FRESNO DIVISION


GERALD CARLIN, JOHN RAHM, PAUL                      Case No. 1:09 CV 00430-AWI GSA
ROZWADOWSKI and DIANA WOLFE,
individually and on behalf of themselves and        CLASS ACTION
all others similarly situated,
                                                    SECOND STIPULATION TO AMEND
                                   Plaintiffs,      THE SCHEDULING ORDER; ORDER
                                                    THEREON
v.

DAIRYAMERICA, INC. and
CALIFORNIA DAIRIES, INC.,

                                   Defendants.


 Effective this 22nd day of May 2015, the parties recite and stipulate as follows:

                                             RECITALS

        WHEREAS, on April 6, 2015, the Honorable Magistrate Judge Gary S. Austin approved

 the parties’ joint scheduling statement [#208], and adopted the dates set forth in the joint

 scheduling statement with modifications by ordering class certification discovery (including the

 filing of any motions to compel) to be completed by July 20, 2015 and setting October 5, 2015

 as the last day for Plaintiffs to file their motion for class certification, with Defendant to file its
 opposition no later than December 18, 2015, with Plaintiffs to file any reply brief no later than



 [No. 1:09 CV 00430-AWI-GA] SECOND STIP TO AMEND THE SCHEDULING ORDER                                  1
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 January 11, 2016, and with a hearing on Plaintiffs’ motion for class certification to be heard on

 February 26, 2015.

         WHEREAS, class certification discovery is presently scheduled to be completed by July

 20, 2015, but issues involved the scheduling of depositions have arisen and caused delays that

 necessitate the parties seeking a brief additional three (3) week extension to complete class

 certification discovery.

         WHEREAS, subject to Court approval, the parties have agreed to extend the deadline for

 the close of class certification discovery to August 14, 2015. This extension on the completion

 of class certification discovery does not impact any of the other scheduled class certification

 dates ordered by Judge Austin on April 6, 2015.

         WHEREAS, this is the second stipulation seeking a modification to the class

 certification schedule.

                                          STIPULATION

         Now, therefore, the parties hereto do jointly stipulate as follows:

         1.     Subject to court approval, the currently scheduled date of July 20, 2015 for the

 completion of class certification discovery in the above-captioned matter is modified and

 extended, such that the new date to complete class certification discovery is August 14, 2015

         2.     Nothing in this Stipulation is intended to alter any of the other scheduled dates in
 this case.

 DATED: May 22, 2015                    Respectfully submitted,

                                        BERMAN DeVALERIO


                                        By:    /s/ Christopher Heffelfinger
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 Dated: May 22, 2015          DAVIS WRIGHT TREMAINE LLP

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                              Counsel for Defendant DairyAmerica, Inc.



 IT IS SO ORDERED.

    Dated:   May 26, 2015                    /s/ Gary S. Austin
                                       UNITED STATES MAGISTRATE JUDGE
